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 1   RONALD D. KENT (SBN 100717)
     ronald.kent@dentons.com
 2   STEVEN A. VELKEI (SBN 160561)
     steven.velkei@dentons.com
 3   DAVID SIMONTON (SBN 199919)
     david.simonton@dentons.com
 4   DENTONS US LLP
     601 S. Figueroa Street, Suite 2500
 5   Los Angeles, California 90017-5704
     Telephone: (213) 623-9300
 6   Facsimile: (213) 632-9924
 7   CLAUDE D. MONTGOMERY (Admitted Pro Hac Vice)
     claude.montgomery@dentons.com
 8   LEE P. WHIDDEN (Admitted Pro Hac Vice)
     lee.whidden@dentons.com
 9   DENTONS US LLP
     1221 Avenue of the Americas
10   New York, NY 10020-1089
     Telephone: (212) 768 6700
11   Facsimile: (212) 768 6800
12   Attorneys for Defendants
     Energia Logistics Ltd. and Energia Overseas LLC
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14
15                         UNITED STATES DISTRICT COURT
16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18   THE BOEING COMPANY, et al.,            NO. CV13-00730-AB (AJWx)
19               Plaintiffs,                DEFENDANTS ENERGIA LOGISTICS
                                            LTD.’S AND ENERGIA OVERSEAS
20         vs.                              LLC’S NOTICE OF LODGING
                                            DEPOSITION TRANSCRIPTS FOR
21   KB YUZHNOYE, et al.,                   TRIAL (ROBERT PECKHAM AND IRA
                                            SCHEY VOLS. II AND III)
22               Defendants.
                                            Complaint Filed: February 1, 2013
23
                                            Trial Date:   November 10, 2015
24                                          Time:         8:30 a.m.
                                            Judge:        Hon. André Birotte
25                                          Place:        Courtroom 4 (2nd Floor)
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 1                  PLEASE TAKE NOTICE that, pursuant to Local Rule 32-1, defendants
 2   Energia Logistics Ltd. and Energia Overseas LLC (“Defendants”) have lodged copies
 3   of the following transcripts that will be introduced in evidence and that have been
 4   marked in accordance with Local Rule 16-2.7:
 5
            1.        Robert Peckham, December 8, 2014
 6
            2.        Ira M. Schey, November 11, 2014
 7
            3.        Ira M. Schey, March 2, 2015
 8
 9
10   DATED: November 10, 2015                                 DENTONS US LLP

11
                                                        By:    s/ David Simonton   x
12                                                              David Simonton
13                                                      Attorneys for Defendants
14                                                      ENERGIA LOGISTICS LTD. AND
                                                        ENERGIA OVERSEAS LLC
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